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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
                         _____________________________________

GEORGE ANIBOWEI,

        Plaintiff,

v.                                                Civil Action No. 3:16-CV-3495-D

LORETTA LYNCH, Attorney General of
the United States, in her official capacity,
et al.,

        Defendants.

                                JOINT STATUS REPORT

        The parties file this joint status report pursuant to the Court’s scheduling order.

The parties at this time do not have a specific trial estimate length because there is a

motion to dismiss pending that may affect the scope of the case and the number of parties

going forward. (The parties are separately moving to stay certain deadlines pending a

ruling on that motion.) Regarding a possible settlement, the parties discussed the

prospect of a settlement at an in-person meeting around the time the motion to dismiss

was filed, but were not able to reach an agreement to resolve the case.




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        Respectfully submitted,

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                                                Attorneys for Defendants

                                    Certificate of Service

        On March 22, 2018, I electronically submitted the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                                  /s/ Brian W. Stoltz
                                                  Brian W. Stoltz
                                                  Assistant United States Attorney




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